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11

12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                          SAN JOSE DIVISION

15   UNITED STATES OF AMERICA,                   ) CASE NO. 18-CR-00258 EJD
                                                 )
16           Plaintiff,                          ) STIPULATION AND [PROPOSED] ORDER
                                                 ) REGARDING TRIAL SCHEDULE
17      v.                                       ) *AS MODIFIED*
                                                 )
18   RAMESH BALWANI,                             )
                                                 )
19           Defendant.                          )
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 1                                                STIPULATION

 2          1.      This matter is currently set for trial on February 15, 2022.

 3          2.      On January 5, 2022, the United States District Court for the Northern District of

 4 California, through the Clerk of Court, announced that “[e]ffective immediately, due to recent

 5 developments in the COVID-19 public health emergency, including the rapid spread of the Omicron

 6 variant, all criminal and civil jury trials in the U.S. District Court for the Northern District of California

 7 will be suspended until after January 26, 2022.”

 8          3.      Later on January 5, 2022, the Court scheduled a status conference in this matter for

 9 January 7, 2022.

10          4.      On January 7, 2022, during the status conference, the Court advised the parties that the

11 jury trial suspension announced on January 5, 2022, applies to this matter and limits the Court’s ability

12 to convene and instruct a venire of potential jurors and supervise the potential jurors’ completion of a

13 juror questionnaire necessary for the selection of a fair and impartial jury.

14          5.      On January 7, 2022, as reflected in the transcript of the proceedings, the parties and the

15 Court discussed means of bringing this matter to trial on the scheduled trial date, but did not reach a

16 resolution of the issues presented by the COVID-19 public health emergency, including the rapid spread

17 of the Omicron variant.

18          6.      On January 7, 2022, the Court, through its Courtroom Deputy, provided an alternative

19 schedule to the parties and solicited their input.

20          7.      Mr. Balwani recognizes that the Court has deemed the continuance of the trial to be

21 necessary in the interests of justice to protect the health and welfare of the public and all participants in

22 the trial. Accordingly, the parties stipulate and agree that, under these circumstances, including the

23 Northern District of California’s January 5, 2022 order suspending jury trials, an exclusion of time under

24 the Speedy Trial Act through March 9, 2022, is appropriate and consent to entry of an order excluding

25 the time from February 15, 2022 to March 9, 2022 from computation under the Speedy Trial Act and

26 finding that the exclusion of time serves the ends of justice and outweighs the best interest of the public

27 and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) & (B).

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 1          8.      The parties, having met and conferred, stipulate and agree, and respectfully request that

 2 the Court order, that the Court adopt the following schedule:

 3          Friday, February 4, 2022 (9:00 a.m.):         Hearing on motions in limine and pretrial
                                                          conference (the parties remain available on Feb. 7-
 4                                                        12 in the event the Court determines additional time
                                                          is necessary for the hearing). The parties request
 5                                                        that the Court hold this hearing in person if
                                                          possible.
 6
            Tuesday, March 1, 2022 (9:00 a.m.):           Final pretrial conference (juror questionnaires must
 7                                                        be finalized and copied by counsel for distribution
                                                          to the venire)
 8
            Thursday, March 3, 2022:                      First group of jurors shall report to the Courthouse
 9                                                        on to fill out questionnaires

10          Friday, March 4, 2022:                        Second group of jurors shall report to the
                                                          Courthouse to fill out questionnaires. The parties
11                                                        will take the completed questionnaires and make the
                                                          necessary copies to ensure effective review by the
12                                                        parties and the Court.

13          Monday, March 7, 2022 (9:00 a.m.):            Conference to review the completed questionnaires
            Tuesday, March 8, 2022 (9:00 a.m.):            (reserved for further review of questionnaires)
14          Wednesday, March 9, 2022 (9:00 a.m.):         Jury selection

15          Thursday, March 10, 2022 (9:00 a.m.):         Jury selection

16          Tuesday, March 15, 2022 (9:00 a.m.):          Jury selection (if necessary) / opening statements /
                                                          beginning of evidence (subject to availability)
17
            9.      The parties stipulate and agree that the Court shall enter the proposed order below and
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     that the hearing currently set for January 12, 2022 shall be vacated.
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            IT IS SO STIPULATED.
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 1 DATED: January 11, 2022                          Respectfully submitted,

 2                                                  STEPHANIE M. HINDS
                                                    United States Attorney
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 4                                                  /s/ Robert S. Leach
                                                    __________________
 5                                                  JEFF SCHENK
                                                    JOHN C. BOSTIC
 6                                                  ROBERT S. LEACH
                                                    KELLY I. VOLKAR
 7
                                                    Assistant United States Attorneys
 8
     DATED: January 11, 2022                        Respectfully submitted,
 9

10                                                  ORRICK HERRINGTON & SUTCLIFFE
                                                    LLP
11
                                                    /s/ Amy Walsh
12                                                  __________________
                                                    JEFFREY B. COOPERSMITH
13
                                                    AMY WALSH
14                                                  STEPHEN A. CAZARES
                                                    Attorneys for Defendant
15                                                  RAMESH BALWANI
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 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the

 3 Court, and for good cause shown, including those stated at the January 7, 2022 status conference, the

 4 trial of this matter, currently set for February 15, 2022, shall be continued March 9, 2022, at 9:00 a.m.

 5 For good cause shown based on the facts set forth in the stipulation of the parties and representations at

 6 the January 7, 2022 status conference, the Court finds that the ends of justice served by continuing the

 7 trial from February 15, 2022, to March 9, 2022, outweigh the best interest of the public and the

 8 defendant in a speedy trial, considering, among other factors, that the failure to grant such a continuance

 9 in the proceeding would be likely to make a continuation of such proceeding impossible, or result in a

10 miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(A) & (B). Therefore, and with the consent of the

11 parties, IT IS HEREBY ORDERED that the time from February 15, 2022, to March 9, 2022, shall be

12 excluded from computation under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(A), (B). The Court

13 adopts and ORDERS the schedule set forth in the stipulation. The hearing currently set for January 12,

14 2022 is VACATED.

15          IT IS SO ORDERED.

16 DATED: January __,
                  12 2022
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18                                                                HON. EDWARD J. DAVILA_
                                                                  UNITED STATES DISTRICT JUDGE
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     STIPULATION & [PROPOSED] ORDER
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